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 8
                         UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
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11   JOSE ESCOBEDO,                                    Case No. 1:23-cv-01364-NODJ-SAB

12                  Plaintiff,                         ORDER GRANTING REQUEST TO
                                                       CONTINUE MANDATORY SCHEDULING
13          v.                                         CONFERENCE AND CONTINUING
                                                       CONFERENCE UNTIL JANUARY 25, 2024,
14   NORTHERN VILLAGE ASSOCIATES, LP,                  AT 10:00 A.M.
     et al.,
15                                                     (ECF Nos. 3, 18)
                    Defendants.
16

17          An initial scheduling conference is currently set in this matter for December 28, 2023.

18 (ECF No. 3.) On December 18, 2023, Plaintiff filed a request to continue the scheduling

19 conference to allow time for Defendant Northern Village Associates, LP, to file a responsive
20 pleading. (ECF No. 18.) The Court finds good cause to grant the request.

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         Case 1:23-cv-01364-NODJ-SAB Document 19 Filed 12/18/23 Page 2 of 2


 1          Accordingly, IT IS HEREBY ORDERED that:

 2          1.      The Scheduling Conference set for December 28, 2023, is continued to January

 3                  25, 2024, at 10:00 a.m.; and

 4          2.      The parties shall file a joint scheduling report seven (7) days prior to the

 5                  scheduling conference.

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     IT IS SO ORDERED.
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 8 Dated:        December 18, 2023
                                                       UNITED STATES MAGISTRATE JUDGE
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